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               UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF MINNESOTA
                     FOURTH DIVISION


 Linda Hoekman, Debra J. Aune, Paul             Case No. 0:18-cv-01686-SRN-SER
 Hanson, and Carolyn Workman, on
 behalf of themselves and others similarly
 situated; Aaron Benner, Mary Dee
 Buros, Stephen Severance, Andrew
 Unseth, and Deborah York, on behalf
 of themselves and others similarly
 situated; Mary Dee Buros, on behalf of
 herself and others similarly situated,

                       Plaintiffs,              Plaintiffs’ First Amended
                                                Class-Action Complaint
 v.

 Education Minnesota; Anoka
 Hennepin Education Minnesota and
 Shakopee Education Association, as
 representatives of the class of all chapters
 and affiliates of Education Minnesota;
 National Education Association;
 American Federation of Teachers,

                       Defendants.



      Linda Hoekman, Debra J. Aune, Paul Hanson, Carolyn Workman, Aaron Ben-

ner, Mary Dee Buros, Stephen Severance, Andrew Unseth, and Deborah York are
current or former public-school teachers who bring this class action on behalf of them-
selves and others similarly situated, seeking redress for the defendants’ past and on-
going violations of their constitutionally protected rights. The defendants have vio-
lated the class members’ constitutional rights by forcing them to work in an “agency
shop,” where non-union members are compelled to pay compulsory “fair-share fees”
to Education Minnesota or its affiliates as a condition of their employment.




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    The representative plaintiffs sue on behalf three separate classes. The first class
consists of “fair-share fee payers.” These are employees who refused to join Education

Minnesota or its affiliates but were compelled to pay “fair-share fees” to the union as
a condition of their employment. See Minn. Stat. § 179A.06(3) (attached as Exhibit
1). Ms. Hoekman, Ms. Aune, Mr. Hanson, and Ms. Workman were “fair-share fee
payers” who refused to join Education Minnesota or its affiliates but were nonetheless
compelled to remit money to the union. Ms. Hoekman, Ms. Aune, Mr. Hanson, and
Ms. Workman sue as class representatives for all current and former fair-share fee pay-
ers to Education Minnesota or its affiliates.
    The second class consists of union members or former union members who would
have quit Education Minnesota or its affiliates had they not been compelled to work
in an unconstitutional agency shop. Mr. Benner, Ms. Buros, Mr. Severance, Mr. Un-
seth, and Ms. York all chose to remain members of the union even though they op-
posed Education Minnesota’s collective-bargaining activities and its political and ide-
ological advocacy, because resigning their membership would have saved very little
money and would not have been worth the cost of losing their vote and whatever
little influence they might have in collective-bargaining matters. Mr. Benner, Ms. Bu-
ros, Mr. Severance, Mr. Unseth, and Ms. York seek classwide relief on behalf of all
Education Minnesota members who retained their membership only because they
would have been forced to pay “fair-share fees” had they quit, and they seek restitu-
tion for each class member in the amount of the “fair-share fees” that they were forced

to pay regardless of whether they retained or resigned their union membership.
    The third class consists of former members of Education Minnesota or its affiliates
who have sought to terminate union-related payroll deductions in the wake of Ja-
nus — but who have been thwarted from doing so by the union or by their employer.
On August 3, 2018, Ms. Buros e-mailed her local union President and her school




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district’s payroll office and informed them that she was resigning her union member-
ship. See Exhibit 2. Nevertheless, the union continued to take membership dues from

Ms. Buros’s paycheck — even though Ms. Buros is no longer a member of the un-
ion — because it insists that Ms. Buros cannot halt the payment of union dues unless
she submits “written notice” to her employer and local union during a seven-day
“opt-out window” that runs from September 24, 2018, through September 30, 2018.
See Exhibit 4. Ms. Buros seeks classwide relief for all employees who remained subject
to union-related payroll deductions after resigning from the union, and she seeks
damages and injunctive relief on behalf of this class.

                        JURISDICTION AND VENUE
    1.   The Court has subject-matter jurisdiction under 28 U.S.C. § 1331, 28
U.S.C. § 1343, and 28 U.S.C. § 1367.
    2.   Venue is proper because a substantial part of the events giving rise to the
claims occurred in the district of Minnesota. See 28 U.S.C. § 1391(b)(2).

                                      PARTIES
    3.   Plaintiff Linda Hoekman resides in Anoka County, Minnesota.
    4.   Plaintiff Debra J. Aune resides in Marshal County, Minnesota.
    5.   Plaintiff Paul Hanson resides in Anoka County, Minnesota.
    6.   Plaintiff Carolyn Workman resides in Carver County, Minnesota.
    7.   Plaintiff Aaron Benner resides in Ramsey County, Minnesota.
    8.   Plaintiff Mary Dee Buros resides in Scott County, Minnesota.
    9.   Plaintiff Stephen Severance resides in Ramsey County, Minnesota.
    10. Plaintiff Andrew Unseth resides in Scott County, Minnesota.
    11. Plaintiff Deborah York resides in Hennepin County, Minnesota.
    12. Defendant Education Minnesota is a labor union whose headquarters are
located at 41 Sherburne Avenue, St. Paul, Minnesota 55103-2196.




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    13. Defendant Anoka Hennepin Education Minnesota is a local union chapter
affiliated with Education Minnesota. Its offices are located in Hennepin County at

3200 Main Street NW, Suite 360, Minneapolis, Minnesota 55448-8408. It is sued,
along with the Shakopee Education Association, as representative of the class of all
chapters and affiliates of Education Minnesota.
    14. Defendant Shakopee Education Association is a local union chapter affili-
ated with Education Minnesota. Its offices are located at 505 Holmes Street South,
Shakopee, Minnesota 55379. It is sued, along with Anoka Hennepin Education Min-
nesota, as representative of the class of all chapters and affiliates of Education Minne-
sota.
    15. Defendant National Education Association (NEA) is a labor union whose
headquarters are located at 1201 16th Street NW, Washington, D.C. The NEA is
affiliated with Education Minnesota.
    16. Defendant American Federation of Teachers (AFT) is a labor union whose
headquarters are located at 555 New Jersey Avenue NW, Washington, DC 20001.
The AFT is affiliated with Education Minnesota.

    STATEMENT OF THE CLAIM — FAIR-SHARE FEE PAYERS
    17. Ms. Hoekman is a public-school teacher who has worked for the Anoka
Hennepin School District since 1997. She currently teaches at Champlin Park High
School in Hennepin County.
    18. Ms. Aune is a public-school teacher who works for the Greenbush–Middle
River School District 2683.
    19. Mr. Hanson is a public-school teacher who works for the Centennial School
District 12.
    20. Ms. Workman is a public-school teacher who works for the Burnsville–
Eagan–Savage School District 191.




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    21. Although Ms. Hoekman was a union member early in her career, she even-
tually resigned her union membership because she disapproves of Education Minne-

sota’s political advocacy and collective-bargaining activities, as well as the excessive
salaries that it pays to even low-ranking union officials. Ms. Aune, Mr. Hanson, and
Ms. Workman have refused to join the union for similar reasons.
    22. Even though Ms. Hoekman, Ms. Aune, Mr. Hanson, and Ms. Workman
were not members of Education Minnesota or its affiliates, they were compelled to
pay “fair-share fees” to the union as a condition of their employment.
    23. The compelled subsidy that Ms. Hoekman, Ms. Aune, Mr. Hanson, Ms.
Workman were required to pay to Education Minnesota and its affiliates violated their
constitutional rights. See Janus v. AFSCME Council 31, 138 S. Ct. 2448 (2018).
    24. The law of Minnesota authorizes Education Minnesota and its affiliates to
extract money from non-union members as a condition of their employment. See
Minn. Stat. § 179A.06(3) (attached to the complaint as Exhibit 1). Section
179A.06(3) is unconstitutional because it allows public-employee unions to take “fair-
share fees” from nonmembers as a condition of their employment and without secur-
ing the employee’s affirmative, written, and freely given consent.
    25. Education Minnesota and its affiliates were acting under color of state law
by collecting these “fair-share fees” from Ms. Hoekman, Ms. Aune, Mr. Hanson, Ms.
Workman, and their fellow fair-share-fee payers. See Minn. Stat. § 179A.06(3); Lugar
v. Edmondson Oil Co. Inc., 457 U.S. 922 (1982).

    26. Education Minnesota and its affiliates have committed the torts of conver-
sion and trespass to chattels by appropriating money from fair-share-fee payers with-
out securing their affirmative, written, and freely given consent, and they are liable in
tort and in an action for replevin. Education Minnesota cannot defend its tortious
conduct by relying on Minn. Stat. § 179A.06(3), because the statute is unconstitu-
tional and unconstitutional statutes cannot confer immunity on tortious conduct.


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    27. Ms. Hoekman, Ms. Aune, Mr. Hanson, and Ms. Workman are suing on
behalf of a class of all non-union members who were compelled to pay “fair-share

fees” to Education Minnesota or its affiliates as a condition of their employment —
regardless of whether those fees were remitted to the union, its affiliates, or a third-
party organization. The class includes everyone who has ever fallen within this defini-
tion, including current, former, or retired teachers or teachers who have moved to
other States, and it includes anyone who comes within the class definition at any time
before the conclusion of this action.
    28. Ms. Hoekman, Ms. Aune, Mr. Hanson, and Ms. Workman have Article III
standing to bring these claims. They have suffered injury in fact because they were
forced to pay money to Education Minnesota and its affiliates as a condition of their
employment. The injury was caused by the unconstitutional behavior of the defend-
ants, and the injury will be redressed by a refund of the money that the union uncon-
stitutionally extracted from the plaintiffs and their fellow class members.

STATEMENT OF THE CLAIM — UNWILLING UNION MEMBERS
    29. Mr. Benner is a public-school teacher who worked for the St. Paul School
District from 1995–1999 and from 2007–2015. During this time, he remained a
member of the Saint Paul Federation of Teachers, an affiliate of Education Minnesota.
    30. Ms. Buros is a public-school teacher who works for the Shakopee Public
Schools. She remained a member of the Shakopee Education Association, an affiliate
of Education Minnesota, until the Supreme Court’s ruling in Janus, and she resigned
her union membership on August 3, 2018.
    31. Mr. Severance taught at the St. Paul Public Schools from 1980–2014. Dur-
ing this time, he remained a member of the Saint Paul Federation of Teachers, an
affiliate of Education Minnesota.




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    32. Mr. Unseth is a public-school teacher who worked for the Northfield Public
Schools until 2015. During that time, he remained a member of the Northfield Edu-

cation Association, an affiliate of Education Minnesota.
    33. Ms. York is a retired public-school teacher who worked for the Spring Lake
Park and Edina School Districts. During this time, she remained a member of her
local union, an affiliate of Education Minnesota.
    34. Mr. Benner, Ms. Buros, Mr. Severance, Mr. Unseth, and Ms. York opposed
and continue to oppose Education Minnesota’s political advocacy and collective-bar-
gaining activities. Nevertheless, they chose to remain in the union because they would
have been forced to continue paying “fair-share fees” had they resigned, and the dif-
ference in money between the full membership dues and the “fair-share fees” would
not have been worth the loss of their vote and whatever little influence they might
have been able to assert in collective-bargaining matters.
    35. The compelled subsidy that Mr. Benner, Ms. Buros, Mr. Severance, Mr.
Unseth, Ms. York, and their fellow school employees were forced to pay to Education
Minnesota as a condition of their employment violated their constitutional rights —
regardless of whether they chose to remain in the union (as Mr. Benner, Ms. Buros,
Mr. Severance, Mr. Unseth, and Ms. York did) or resign their membership (as Ms.
Hoekman, Ms. Aune, Mr. Hanson, and Ms. Workman did).
    36. The law of Minnesota authorizes Education Minnesota and its affiliates to
compel union payments from school employees regardless of whether they remain in

the union or resign their membership. See Minn. Stat. § 179A.06(3) (attached to the
complaint as Exhibit 1). Section 179A.06(3) is unconstitutional because it compels
union payments from employees who remain in the union but would quit if they could
do so without being subjected to “fair-share fees.”
    37. Education Minnesota and its affiliates were acting under color of state law
by imposing these mandatory union payments on school employees, which compelled


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every employee to pay at least the amount imposed in “fair-share fees” — even if the
employee would have preferred to resign his union membership and withdraw all fi-

nancial support of the union. See Minn. Stat. § 179A.06(3); Lugar v. Edmondson Oil
Co. Inc., 457 U.S. 922 (1982).
    38. Education Minnesota and its affiliates have committed the torts of conver-
sion and trespass to chattels by taking money from Mr. Benner, Ms. Buros, Mr. Sev-
erance, Mr. Unseth, and Ms. York against their will, and denying their prerogative to
resign and cease providing financial support to her union. Education Minnesota and
its affiliates are therefore liable to Mr. Benner, Ms. Buros, Mr. Severance, Mr. Unseth,
and Ms. York in tort and in an action for replevin. Education Minnesota and its affil-
iates cannot defend their tortious behavior by relying on Minn. Stat. § 179A.06(3),
because the statute is unconstitutional and unconstitutional statutes cannot confer
immunity on tortious conduct.
    39. Mr. Benner, Ms. Buros, Mr. Severance, Mr. Unseth, and Ms. York are suing
on behalf of a class of all members or former members of Education Minnesota or its
affiliates who would have quit the union had they not been forced to work in an
unconstitutional agency shop. The class includes everyone who has ever fallen within
this definition, including former or retired teachers or teachers who have moved to
other States, and it includes anyone who comes within the class definition at any time
before the conclusion of this action.
    40. Mr. Benner, Ms. Buros, Mr. Severance, Mr. Unseth, and Ms. York have

Article III standing to bring these claims. They have suffered injury in fact because
they were forced to pay money to Education Minnesota and its affiliates as a condition
of their employment. The injury was caused by the unconstitutional behavior of the
defendants, and the injury will be redressed by a refund of the money that the union
unconstitutionally extracted from the plaintiffs and their fellow class members.




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       STATEMENT OF THE CLAIM — UNCONSTITUTIONAL
            GARNISHMENT OF WAGES POST-JANUS
    41. After the Supreme Court’s ruling in Janus, Ms. Buros resigned her union

membership and demanded a halt to all union-related payroll deductions.
    42. On August 3, 2018, Ms. Buros sent an e-mail to Dale Anderson, the Presi-
dent of the Shakopee Education Association, and Michael Greeley, a payroll specialist
at the Shakopee Public Schools, which read as follows:

       Good morning Dale and Mike,

       I’m sending this to let you know that I’ve made the decision to discon-
       tinue my union membership. I am resigning my membership in Educa-
       tion and all of its affiliates, including Shakopee Education Association
       and the National Education Association, effectively immediately.
See Exhibit 2.
    43. Ms. Buros’s membership in Education Minnesota and its affiliates therefore
ceased on August 3, 2018.
    44. Even though Ms. Buros had quit the union, the union continued to take
membership dues from her paycheck of September 14, 2018.
    45. On September 17, 2018, Ms. Buros e-mailed Mr. Greeley at the school
district’s payroll office to ask why the school district was continuing to divert her
paycheck to a union that she does not belong to and does not support. See Exhibit 3.
    46. Mr. Greeley wrote back:

       Dues were taken out as teachers can only opt-out during the window
       of 9/24-9/30, with dues to stop on 10/12/18. You’ll have to notify
       Dale Anderson during this time frame.
See Exhibit 3.
    47. On September 18, 2018, Dale Anderson e-mailed Ms. Buros and explained
that the union would continue to take membership dues from her paycheck — even
though Ms. Buros had canceled her membership in August — because teachers who
quit the union must continue to pay dues unless and until they affirmatively opt out



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during a seven-day window that runs from September 24 and September 30. See Ex-
hibit 4. Mr. Anderson claimed that Ms. Buros’s union-membership contract con-

tained the following language:

       I agree to submit dues to Education Minnesota and hereby request and
       voluntarily authorize my employer to deduct from my wages an amount
       equal to the regular monthly dues uniformly applicable to members of
       Education Minnesota or monthly service fee, and further that such
       amount so deducted be sent to such local union for and on my behalf.
       This authorization shall remain in effect and shall be automatically re-
       newed from year to year, irrespective of my membership in the union,
       unless I revoke it by submitting written notice to both my employer
       and the local union during the seven-day period that begins on Sep-
       tember 24 and ends on September 30. Such revocation will take effect
       on October 1 in the year in which I submit the revocation.
See Exhibit 4.
    48. The union’s continued garnishment of Ms. Buros’s wages after she resigned
her union membership violates the Speech Clause and the Supreme Court’s ruling in
Janus. Janus holds that public-employee unions are forbidden to touch a nonmem-
ber’s paycheck unless the employee “clearly and affirmatively consent[s] before any
money is taken.” Janus, 138 S. Ct. at 2486; see also id. (“Neither an agency fee nor
any other payment to the union may be deducted from a nonmember’s wages, nor
may any other attempt be made to collect such a payment, unless the employee af-

firmatively consents to pay.”). Ms. Buros ceased to be a member of Education Min-
nesota and its affiliates when she e-mailed her resignation to Dale Anderson on August
3, 2018. Now that Ms. Buros has quit the union, the union is forbidden to take her
money unless it secures Ms. Buros’s clear, affirmative, and freely given consent in
advance.
    49. Education Minnesota and the Shakopee Education Association have com-
mitted the torts of conversion and trespass to chattels by taking and redirecting money
from Ms. Buros’s paycheck without securing her clear, affirmative, and freely given




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consent — and they are continuing to commit those torts by taking union membership
dues from Ms. Buros against her wishes.

    50. Any “maintenance of dues” agreement that compels public employees to
continue paying membership dues after they quit the union — and that forbids them
to withdraw their financial support unless they affirmatively “opt out” during a seven-
day window that comes around once per year — is unenforceable and void. A public
employee has the constitutional right to revoke his or her union membership at any
time. And once an employee terminates his membership, the payroll deduction of
union dues must cease immediately. See Janus, 138 S. Ct. at 2486 (“Neither an agency
fee nor any other payment to the union may be deducted from a nonmember’s wages,
nor may any other attempt be made to collect such a payment, unless the employee
affirmatively consents to pay.”). The burden is on the union to secure the non-mem-
ber’s clear and affirmative consent to pay; the union cannot place the burden on a
non-member employee to affirmatively opt out of union payments.
    51. Ms. Buros did not waive her First Amendment rights by signing a “mainte-
nance of dues” agreement as part of her union-membership contract. Any public em-
ployee who signed a union-membership contract while working in an agency shop
was unconstitutionally coerced and did not provide a legally valid waiver of his First
Amendment rights. An employee who agreed to join the union pre-Janus was com-
pelled to pay at least the amount of “fair-share fees” to the union regardless of whether
he joined, and any agreement to pay membership dues under these circumstances is

tainted by the unconstitutional agency-shop arrangement. A person who is told, “Sign
this contract or else I will start taking $500 per year from your paycheck,” and then
signs the contract in response to this “offer,” has not provided a legally valid waiver
of his Janus rights. See Janus, 138 S. Ct. at 2486 (waivers of First Amendment rights
must be “freely given”).




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    52. In addition, any pre-Janus public employee who signed a “maintenance of
dues” agreement consented to pay only the difference between full membership dues

and the compulsory “fair-share fees” that would have been imposed had they resigned.
A pre-Janus employee who agreed to pay that marginal difference until the next an-
nual “opt-out” window has not promised to pay full membership dues to the union
in a post-Janus, right-to-work situation.
    53. Janus also holds that waivers of First Amendment rights cannot be pre-
sumed, and must be “freely given and shown by ‘clear and compelling’ evidence.”
Janus, 138 S. Ct. at 2486 (citation omitted). A pre-Janus union-membership contract
cannot effectuate a “freely given” waiver of an employee’s Janus rights, because any
employee who declined union membership in an agency shop would have been sub-
ject to an unconstitutional financial penalty. In addition, employees at the time were
not even aware of their constitutional right to withhold payments from the union, as
Janus had not yet been decided. See Brady v. United States, 397 U.S. 742, 748 (1970)
(“Waivers of constitutional rights not only must be voluntary but must be knowing,
intelligent acts done with sufficient awareness of the relevant circumstances and likely
consequences.”); Johnson v. Zerbst, 304 U.S. 458, 464 (1938) (“A waiver is ordinarily
an intentional relinquishment or abandonment of a known right or privilege.” (em-
phasis added)). So the union must honor Ms. Buros’s assertion of her Janus rights —
and it cannot invoke pre-Janus “maintenance of dues” contracts as a waiver of her
constitutional right to withhold financial support from the union after resigning her

membership.
    54. Finally, a public-employee union cannot condition union membership on a
waiver of an employee’s constitutional rights under Janus. The union has been
granted a monopoly power by the State, and it is the only entity that public employees
may use as their bargaining representative. See Minn. Stat. § 179A.06(2) (“Public




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employees in an appropriate unit have the right by secret ballot to designate an exclu-
sive representative to negotiate grievance procedures and the terms and conditions of

employment with their employer.” (emphasis added)). An employee has no ability to
shop around for the best membership deal, and there is no market competition or the
possibility of new entrants to serve as a check against onerous or unreasonable terms
of membership. If the unions can enforce “maintenance of dues” agreements that
compel employees to continue paying membership dues after they quit the union —
unless they remember to affirmatively “opt out” during a seven-day window that
comes up once per year — then there is nothing to stop the union from establishing a
seven-minute opt-out window, or an opt-out window that becomes available once per
decade. Indeed, there is nothing to stop the union from creating membership
contracts that require members to pay dues for as long as they remain public
employees — regardless of whether they resign their union membership.
    55. Ms. Buros is suing on behalf of all current and former members of Educa-
tion Minnesota and its affiliates who: (1) attempted to resign their union membership
at any time before or after Janus; and (2) had union membership dues taken from
their paychecks after communicating their desire to resign. The class includes anyone
who has ever fallen within this definition, including former and retired public employ-
ees, and it includes anyone who comes within the class definition at any time before
the conclusion of this action.
    56. Ms. Buros has Article III standing to bring these claims. She has suffered

injury in fact because the union and her employer have taken money from her
paycheck after she informed them that she had resigned her union membership. These
injuries are caused by the unlawful behavior of the defendants, and the injury will be
redressed by a refund of money that the union unlawfully took from Ms. Buros and
her fellow class members, as well as an injunction that bars the collection of member-
ship dues from any employee who has communicated their desire to resign.


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                              CAUSES OF ACTION
    57. The representative plaintiffs are suing the defendants under 42 U.S.C.
§ 1983 and the Declaratory Judgment Act, 28 U.S.C. § 2201, each of which supplies

a cause of action for the individual and class-wide relief that they are requesting.
    58. The representative plaintiffs are also suing the defendants under the state-
law torts of conversion, trespass to chattels, replevin, and any other state-law cause of
action that offers relief for this unlawful seizure of their personal property. The repre-
sentative plaintiffs invoke the supplemental jurisdiction of this court over these pen-
dent state-law claims. See 28 U.S.C. § 1367.

         DEMAND FOR RELIEF — FAIR-SHARE FEE PAYERS
    59. Ms. Hoekman, Ms. Aune, Mr. Hanson, and Ms. Workman respectfully re-
quest that the court:
         a.     certify a plaintiff class of all nonunion members who have been forced
                to pay “fair-share fees” to Education Minnesota or its affiliates as a
                condition of their employment;
         b.     certify a defendant class of Education Minnesota chapters and affili-
                ates;
         c.     declare that Ms. Hoekman, Ms. Aune, Mr. Hanson, Ms. Workman,
                and their fellow class members have a constitutional right to decline
                to join or financially support a public-employee union, and that they
                cannot be forced to pay money to a public-employee union as a con-
                dition of their employment;
         d.     declare that state tort law protects the right of Ms. Hoekman, Ms.
                Aune, Mr. Hanson, Ms. Workman, and their fellow class members
                not to have their wages garnished or redirected by Education Minne-
                sota or its affiliates without their affirmative, written, and freely given
                consent, and that any federal or state law or collective-bargaining



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               agreement that purports to override these protections of state tort law
               by allowing Education Minnesota to help itself to the wages and

               paychecks of school employees — or that compels school employees
               to consent the garnishment of their wages by Education Minnesota
               as a condition of their employment — is unconstitutional and without
               legal effect;
        e.     declare Minn. Stat. § 179A.06(3) unconstitutional because it allows
               public-employee unions to extract “fair-share fees” from nonmembers
               as a condition of their employment, and permanently enjoin the de-
               fendants, and all of their officers, agents, servants, employees, attor-
               neys, and any other person or entity in active concert or participation
               with them, from enforcing Minn. Stat. § 179A.06(3), or any other
               provision of state law that authorizes or enforces public-employee un-
               ion shops;
        f.     declare that all collective-bargaining agreements that compel the rep-
               resentative plaintiffs and their fellow class members to pay “fair-share
               fees” to Education Minnesota or its affiliates as a condition of their
               employment violate the constitutional rights of Ms. Hoekman, Ms.
               Aune, Mr. Hanson, Ms. Workman, and their fellow class members;
        g.     order Education Minnesota and its affiliates, including the NEA and
               the AFT, to refund all “fair-share fees” that they unconstitutionally

               extracted from Ms. Hoekman, Ms. Aune, Mr. Hanson, Ms. Work-
               man, and their fellow fair-share fee payers;
        h.     award costs and attorneys’ fees under 42 U.S.C. § 1988;
        i.     grant all other relief that the Court may deem just, proper, or equita-
               ble.




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    DEMAND FOR RELIEF — UNWILLING UNION MEMBERS
    60. Mr. Benner, Ms. Buros, Mr. Severance, Mr. Unseth, and Ms. York respect-
fully request that the court:

         a.     certify a plaintiff class of all members or former members of Education
                Minnesota or its affiliates who would have quit the union had they
                not been forced to work in an unconstitutional agency shop;
         b.     certify a defendant class of Education Minnesota chapters and affili-
                ates;
         c.     declare that Mr. Benner, Ms. Buros, Mr. Severance, Mr. Unseth, Ms.
                York, and their fellow class members have a constitutional right to
                decline to join or financially support a public-employee union, and
                that they cannot be forced to pay money to a public-employee union
                as a condition of their employment;
         d.     declare that state tort law protects the right of Mr. Benner, Ms. Buros,
                Mr. Severance, Mr. Unseth, Ms. York, and their fellow class members
                not to have their wages garnished or redirected by Education Minne-

                sota or its affiliates without their affirmative, written, and freely given
                consent, and that any federal or state law or collective-bargaining
                agreement that purports to override these protections of state tort law
                by allowing Education Minnesota to help itself to the wages and
                paychecks of school employees — or that compels school employees
                to consent the garnishment of their wages by Education Minnesota
                as a condition of their employment — is unconstitutional and without
                legal effect;
         e.     order Education Minnesota and its affiliates to provide a refund to
                every class member in an amount equal to the “fair-share fees” that




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               the class members were forced to pay regardless of whether they re-
               tained or resigned their union membership;

        f.     permanently enjoin all of the defendants, along with their officers,
               agents, servants, employees, attorneys, and any other person or entity
               in active concert or participation with them, from enforcing any pro-
               vision of Minnesota law, or any provision of a collective-bargaining
               agreement, that requires any payment of money as a consequence for
               exercising one’s constitutional right not to join or financially support
               a public-employee union;
        g.     award costs and attorneys’ fees under 42 U.S.C. § 1988;
        h.     grant all other relief that the Court may deem just, proper, or equita-
               ble.

             DEMAND FOR RELIEF — UNCONSTITUTIONAL
               GARNISHMENT OF WAGES POST-JANUS
    61. Ms. Buros respectfully requests that the court:
        a.     certify a plaintiff class of all current and former members of Education
               Minnesota and its affiliates who had union membership dues taken
               from their paychecks after communicating their desire to quit the un-
               ion;
        b.     certify a defendant class of Education Minnesota chapters and affili-
               ates;
        c.     declare that Education Minnesota and the Shakopee Education Asso-
               ciation violated Ms. Buros’s constitutional rights by taking union
               membership dues from her paycheck after she had resigned her union
               membership;
        d.     declare that Education Minnesota and the Shakopee Education Asso-
               ciation violated state tort law by garnishing and redirecting the wages



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               of Ms. Buros and her fellow class members without first obtaining
               their clear and affirmative consent;

        e.     declare that all provisions in collective-bargaining agreements negoti-
               ated by Education Minnesota and its affiliates that compel a public
               employer to deduct union-related fees from an employee’s paycheck
               upon the union’s request and without regard to whether the em-
               ployee has “clearly and affirmatively consented” to these payroll de-
               ductions are unconstitutional, void, and without legal effect;
        f.     declare that Education Minnesota’s “maintenance of dues” agree-
               ments — which compel public employees to continue paying mem-
               bership dues after they quit the union, and forbid them to withdraw
               their financial support unless they affirmatively “opt out” during a
               seven-day window that comes around once per year — are unenforce-
               able and void;
        g.     declare that a public employee has a constitutional right to revoke his
               or her union membership at any time, and that once an employee
               terminates his membership the payroll deduction of union dues must
               cease;
        h.     order Education Minnesota and its affiliates, included the NEA and
               AFT, to refund all union-related fees that they took or re-directed
               from class members who had previously announced their resignation

               from the union;
        i.     order Education Minnesota and its affiliates to immediately honor and
               enforce an employee’s decision to resign from the union and with-
               draw his or her financial support, regardless of the time of year that
               the decision is made and regardless of any previous agreement that




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               purports to limit the employee’s ability to halt the payment of union-
               related fees;

        j.     permanently enjoin Education Minnesota and its affiliates, along with
               their officers, agents, servants, employees, attorneys, and any other
               person or entity in active concert or participation with them, from
               taking or redirecting any type of money from any public employee
               who has not given his affirmative, written, and freely given consent
               post-Janus to these union-related payments;
        k.     award costs and attorneys’ fees under 42 U.S.C. § 1988;
        l.     grant all other relief that the Court may deem just, proper, or equita-
               ble.

                                           Respectfully submitted.

                                            /s/ Douglas P. Seaton
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Dated: October 1, 2018                     the Proposed Class




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